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     Attorneys for Plaintiff, Roland Trosclair Jr.
12
                                UNITED STATES DISTRICT COURT
13                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                   SAN FRANCISCO DIVISION

15   IN RE: ROUNDUP PRODUCTS                                 MDL No. 16-MDL-2741-VC
     LIABILITY LITIGATION
16

17
     THIS DOCUMENT RELATES TO:                           DECLARATION OF
18                                                       HUNTER W. LUNDY IN SUPPORT OF
     Roland Joseph Trosclair Jr. v. Monsanto Co., et al. PLAINTIFF’S MOTION TO REMAND
19   Case No. 19-cv-6396-VC
20

21
            I, Hunter W, Lundy, declare and state:
22

23      1. I am an attorney admitted to practice before all of the courts in the state of Louisiana. I am

24          an attorney at Lundy, Lundy, Soileau & South, LLP, attorneys of record for Plaintiff. I am
25          over eighteen years of age and am fully competent to make this Declaration. Except as
26
            otherwise expressly stated below, I have personal knowledge of the facts stated in this
27
                                                      1
28   DECLARATION OF HUNTER W. LUNDY                                      CASE NO. 19-CV-6396-VC
             Case 3:19-cv-06396-VC Document 54-2 Filed 10/17/19 Page 2 of 2



1          declaration, and if called to testify, I could and would competently testify to the matters
2
           stated herein.
3
        2. Attached hereto as Exhibit 1 is a true and correct copy of the declaration of Arthur Kelm,
4
           as executed on July 5, 2019.
5

6          I declare under penalty of perjury under the laws of the State of California that the

7       foregoing is true and correct.
8
           Executed on October 17, 2019 in Lake Charles, Louisiana.
9
     Dated: October 17, 2019                    Respectfully submitted,
10

11
                                                By: s/ Hunter W. Lundy
12
                                                   HUNTER W. LUNDY,
13                                                 Declarant
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                                                    2
28   DECLARATION OF HUNTER W. LUNDY                                    CASE NO. 19-CV-6396-VC
